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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

In re: Application Pursuant to                        )
28 U.S.C. 1782 of                                     )
                                                      )
FARHAD AZIMA                                          )         Case No.: 22-20707-cv-JEM
                                                      )
                Petitioner,                           )
v.                                                    )
                                                      )
INSIGHT ANALYSIS AND RESEARCH,                        )
LLC, and SDC-GADOT LLC,                               )
                                                      )
                Respondents,                          )
                                                      )
_______________________________________               )

                               RESPONDENTS’1 MOTION FOR SANCTIONS:

        Respondents, INSIGHT ANALYSIS AND RESEARCH, LLC and SDC-GADOT, LLC, by and

through the undersigned attorneys, hereby file this, their Motion for Sanctions, as follows:

     1. Despite Petitioner having initiated this proceeding as one for discovery for use in a foreign proceeding

        under 28 U.S.C. § 1782, Respondents have repeatedly advised this Court that it is readily apparent

        that Petitioner was not being honest about the underlying basis for these proceedings and instead

        Petitioner was seeking to use these proceedings to obtain pre-suit discovery for direct claims the

        Petitioner intended to file against these Respondents.

     2. On October 13, 2022, Petitioner proved these Respondents right, by initiating a new action in the

        Southern District of New York under S.D. NY Case No.: 1-22-cv-08728. A true copy of the Complaint

        filed by Petitioner on October 13, 2022 is filed herewith as Exhibit “1”.


1
  This Motion has been filed on behalf of Respondents, INSIGHT ANALYSIS AND RESEARCH, LLC and
SDC-GADOT, LLC. Though Petitioner decided to amend the case caption to include AMIT FORLIT, AMIT
FORLIT is not yet a party Respondent in these proceedings, as though he has been provisionally identified by
the Respondent in an Amended Petition for Discovery filed per 28 U.S.C. § 1782, this Court has not yet ruled
upon said Petition and has not yet determined that AMIT FORLIT should be made a Respondent in these
proceedings.

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3. Therein, Petitioner (and his alleged related entities) have sued a multitude of Defendants, and have

   specifically named these Respondents as Co-Defendants therein. Of note, Petitioner’s counsel in the

   newly filed S.D. NY action is the same counsel representing Petitioner (by admission pro hac vice)

   in this proceeding.

4. In order to substantiate the Petitioner’s ridiculous and maliciously false allegations made as to these

   Respondents, Petitioner has mis-quoted and twisted testimony provided by non-party Amit Forlit in

   July of 2022 in this proceeding. That testimony was provided during depositions in which Amit Forlit

   appeared as the Rule 36 corporate representative for these Respondents. Those depositions were

   conducted in Israel (due to the fact that Amit Forlit is not a resident or a U.S. Citizen).

5. Specifically looking at paragraphs 232-235 of Petitioner’s newly filed Complaint, Petitioner misstates

   deposition testimony given by Amit Forlit in connection with this proceeding. At no time did

   Petitioner ever make the “admissions” Petitioner alleges in his newly filed Complaint. However,

   clearly the Petitioner’s underlying goal of the Rule 36 depositions unilaterally demanded by Petitioner

   in this action were not in fact to obtain information for use in the “UK Proceedings”, but rather to

   conduct a pre-suit fishing expedition seeking to unearth factual support for Petitioner’s ridiculous

   claims which have now been asserted in his recently filed Complaint.

6. Most tellingly, footnote two (2) in the newly filed Complaint states: “The UK case seeks damages for

   the 2016 hacking of Azima. This Complaint seeks damages for conduct that postdates the 2016

   hacking. In effect, the UK case focuses on crimes that occurred in or about 2016, while this Complaint

   focuses on efforts to cover-up those crimes. In addition, the parties in the two cases are not identical,

   and this Complaint includes defendants Handjani, Frank, KARV, Insight, SDC-Gadot, and Forlit, who

   are US persons and entities, and along with Defendant Hughes are not defendants in the UK case. UK

   law does not have a comparable statute to RICO.”




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7. As noted previously in this proceeding, neither of these Respondents existed in 2016. Both SDC-

   GADOT, LLC and INSIGHT ANALYSIS AND RESEARCH, LLC were formed on October 18,

   2017.

8. Petitioner’s footnote comments at page two (2) of his October 13, 2022 RICO Complaint clearly

   establish that at all times the real material purpose for the instant 28 U.S.C. § 1782 proceeding was to

   gather information about these Respondents for use in framing the scope of Petitioner’s RICO

   Complaint.

9. This Court has the inherent authority to sanction parties and counsel for bad faith litigation practices.

   See gen. Chambers v. NASCO, Inc., 501 U.S. 32, 45-46 (1991) (“Third, and most relevant

   here, a court may assess attorney's fees when a party has "'acted in bad faith, vexatiously, wantonly,

   or for oppressive reasons.”).

10. As noted in prior filings by these Respondents, Petitioner has played games with the discovery sought

   in these proceedings. Petitioner was only initially granted the right to serve document production

   subpoenas upon these Respondents. Petitioner then issued and served subpoenas for Rule 36

   depositions without any authorization of this Court to do so. Petitioner appeared before this Court

   and sought an Order compelling the completion of Rule 36 depositions from the Court’s appointed

   magistrate, without ever making it known that the Court never authorized Rule 36 depositions. When

   these Respondents sought to ameliorate the issue and simply produce a corporate representative for

   deposition, Petitioner has now turned around and utilized a twisted re-interpretation of the deposition

   testimony obtained as support for his newly filed RICO claims, therein directly admitting that his US

   claims address all conduct after 2016, while simultaneously forgetting the representation she made to

   this Court that his inquiries (which all post-dated 2016) were directed to issues being litigated in the

   UK Proceedings.




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   11. As is quite often the case, when one spins falsehoods over a long enough period of time and to enough

       different parties, one tends to forget which falsehood was spun to which party. Here, Petitioner seems

       to have clearly forgotten the multiple representations which Petitioner and his counsel made to this

       Court about the discovery in this case being for the purpose of use in the UK Proceedings, which

       directly contradicts with the Petitioner’s express admission in footnote two (2) of his Complaint

       stating that his RICO complaint has been filed to address the very conduct he was making inquiry

       about in this proceeding (all of which post-dated 2016).

       WHEREFORE Respondents, SDC-GADOT, LLC and INSIGHT ANALYSIS AND RESEARCH,

LLC, respectfully request that the Court review this Motion, GRANT this Motion, award the Respondents a

recovery of reasonable attorney’s fees which they have incurred in connection with this proceeding and being

required to appear and produce discovery in this proceeding, and that the Court Grant the Respondents such

other and further relief as this Court may deem just and proper.

             CERTIFICATE OF COMPLIANCE WITH FONT AND PAGE REQUIREMENTS:

       The undersigned hereby certifies that this Motion complies with the requirements of Local Rules 5.1

and 7 pertaining to font size and length of this Motion.

                                        CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 18th day of October, 2022, that a true and correct copy
of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy has been served
through the portal upon all counsel of record in this action.

                                                     Respectfully submitted,

                                                By: /s/ Elan I. Baret, Esq.
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